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                          CRIMINAL MINUTES

2:22-cr-14
USA v. Marco R. Merino
(Custody)



                     Arraignment on Information

      Hearing held on Tuesday, February 8, 2022 at 10:30 a.m.
               via GoToMeeting Video Conference
               before Judge Edmund A. Sargus, Jr.


For Govt: Elizabeth Geraghty and Peter Glenn-Applegate

For Deft: Terry Sherman

Court Reporter: Crystal Hatchett

Courtroom Deputy: Christin Werner


     Defendant enters a plea of guilty to counts 1-2 and the forfeiture allegation
     of the information.
     PSI Ordered.
     Waiver of Indictment to be submitted.
